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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

(United States Postal Service),

Defendant,

}

ROSA M. CHIARAVALLOTI, )

Plaintiff, )

)
ve. CA. No. 09-11577-NG

)

UNITED STATES OF AMERICA, )

)

)

)

)

DEFENDANT’S CERTIFICATION PURSUANT TO LOCAL RULE 4 6.1(D)}(3)

Pursuant to Local Rule 16.1(D)(3), Defendant United States of America hereby
certifies that Defendant and Defendant’s counsel have conferred: (a) with a view to
establishing a budget for the costs of conducting the full course — and various
alternative courses — of the litigation; and (b) to consider the resolution of the litigation
through the use of alternative dispute resolution programs such as those outlined in
Local Rule 16.4.

‘Respectfully submitted,
UNITED STATES OF AMERICA CARMEN M. ORTIZ
UNITED STATES POSTAL SERVICE United States Attorney

for the District of Massachusetts

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Stanford M. ‘Bjurstrom Jennifer A. Serafyn
Attomey ~ National Tort Center . Assistant United States Attomey
United States Postal Service United States Attorney’s Office

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Boston, MA 02210
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Dated: March 18, 2010 Fax: (617) 748-3969

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CERTIFICATE OF SERVICE

I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF),
and paper copies will be sent to those indicated as non-registered participants on March 22, 2010.

/s/ Jennifer A. Serafyn
Jennifer A. Serafyn
Assistant U.S. Attorney

